Case 3:15-cv-01143-BJD-JBT Document 370 Filed 12/13/19 Page 1 of 4 PageID 32083




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

 WINN-DIXIE STORES, INC.,

             Plaintiff,

 v.                                            CASE NO. 3:15-cv-1143-J-39JBT

 SOUTHEAST MILK, INC., et al.,

           Defendants.
 ________________________________/

                                     ORDER

       THIS CAUSE is before the Court on Defendants’ Unopposed Motion (A)

 for Leave to File Certain Deposition Transcripts in Excerpted Form; and (B) to

 Seal Certain Deposition Transcript Excerpts Pursuant to Confidentiality

 Agreement (“Motion”) (Doc. 326).   For the reasons set forth herein, the Motion is

 due to be GRANTED to the extent stated herein.

       I.     Standard

       The public has a Acommon-law right of access to judicial proceedings,@

 which Aincludes the right to inspect and copy public records and documents.@

 Romero v. Drummond Co., 480 F.3d 1234, 1245 (11th Cir. 2007) (quotations

 omitted).   AMaterial filed in connection with any substantive pretrial motion,

 unrelated to discovery, is subject to the common law right of access.@ Id.

       However, A[t]he common law right of access may be overcome by a

 showing of good cause, which requires balanc[ing] the asserted right of access
Case 3:15-cv-01143-BJD-JBT Document 370 Filed 12/13/19 Page 2 of 4 PageID 32084




 against the other party=s interest in keeping the information confidential.@     Id. at

 1246 (quotations omitted) (listing the factors to be considered in balancing these

 interests). Even in the absence of a third party challenging the protection of

 information, the Court, as Athe primary representative of the public interest in the

 judicial process,@ is duty bound Ato review any request to seal the record (or part

 of it) [and] may not rubber stamp a stipulation to seal the record.@         Estate of

 Martin Luther King, Jr., Inc. v. CBS, Inc., 184 F. Supp. 2d 1353, 1363 (N.D. Ga.

 2002).

       II.    Analysis

       The parties seek to have Exhibits 1–5 to the Declaration of Jill O’Tool

 (Doc. 325) and Exhibits 3, 4, and 6 to the Declaration of Nathan P. Eimer (Doc.

 322) filed under seal. 1 (Doc. 326.) These exhibits consist of excerpts from the

 deposition transcripts of Joseph Wright, Calvin Covington, Dr. Scott Brown,

 Graham Leary, and Dr. John Connor.            (Id. at 2, 6.)   Additionally, Defendants

 seek leave to redact excerpts of Dr. Connor’s deposition testimony that are

 quoted in Defendants’ Motion In Limine regarding Dr. Brown (“Brown Motion”)

 (Doc. 321), which has already been filed on the public docket in redacted form.

 (Doc. 326 at 6.) Pursuant to the Court’s prior Order (Doc. 286), all of the subject



       1
          Although it appears that it is Plaintiff, rather than Defendants, who has a
 privacy interest in sealing certain exhibits, Plaintiff need not file a separate motion
 because, as set forth herein, all of the information at issue is already under seal.


                                           2
Case 3:15-cv-01143-BJD-JBT Document 370 Filed 12/13/19 Page 3 of 4 PageID 32085




 deposition transcripts have already been filed in their entirety under seal. 2       (See

 Doc. 287.)    Therefore, good cause exists to seal the subject transcripts, and an

 unredacted version of the Brown Motion, until further order of the Court. See

 M.D. Fla. R. 1.09(c).

       Accordingly, it is ORDERED:

       1.     The Motion (Doc. 326) is GRANTED to the extent stated herein.

       2.     On or before December 18, 2019, Defendant shall file Exhibits 1–5

 to the Declaration of Jill O’Tool (Doc. 325), Exhibits 3, 4 and 6 to the Declaration

 of Nathan P. Eimer (Doc. 322), and an unredacted version of the Brown Motion

 (Doc. 321) under seal. These documents shall remain under seal until further

 order of the Court.

       DONE AND ORDERED at Jacksonville, Florida on December 13, 2019.




       2
          Defendants acknowledge that excerpts from certain deposition transcripts may
 be filed on the public docket, and the parties apparently disagree regarding the need to
 seal certain deposition transcripts. (See Doc. 326.) However, because the Court has
 already allowed the entire transcripts to be filed under seal and it is not entirely clear
 which excerpts may be at issue, the Court will direct Defendant to file the subject
 exhibits in their entirety under seal. Moreover, in addition to the redacted version of the
 Brown Motion filed on the public docket, Defendant shall file an unredacted version of
 that motion under seal.

                                             3
Case 3:15-cv-01143-BJD-JBT Document 370 Filed 12/13/19 Page 4 of 4 PageID 32086




 Copies to:

 Counsel of Record




                                      4
